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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 WESTERN DIVISION


ROSEBUD SIOUX TRIBE et al.,                 )
                                            )
       Plaintiffs,                          )
                                            )       CIV: 5:20-CV-05058-LLP
v.                                          )
                                            )       NOTICE OF CHANGE OF
STEVE BARNETT et al.,                       )       FIRM NAME
                                            )
       Defendants.                          )
                                            )


TO:    The Clerk of Court and All Parties

       Please take notice that the firm name for Plaintiffs’ attorney Joseph Wardenski has

changed from Joseph J. Wardenski, Attorney at Law, to Wardenski P.C. His mailing address,

telephone number, and email address have not changed. Accordingly, Mr. Wardenski’s current

contact information is as follows:

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Please update your records accordingly.


       DATED: September 21, 2021

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                               CERTIFICATE OF SERVICE

I hereby certify that on this 21st day of September, 2021, I filed the above document with the
Court’s CM/ECF system, which provided notice of this filing by e-mail to all counsel of record.


                                                          /s/ Terry L. Pechota




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